                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 2:09-md-02047-EEF-MBN Document 21527-4 Filed 07/16/18 Page 1 of 1

Claimant Source    Claimant Name         Affected Property    City            State   Zip     Omni(s)             Date of Earliest PPF    Indicia    Verified    Type of Verficiation     Counsel's Declaration                                                               Product         Type of Indicia Description of Markings      Markings # from    Product       Current Owner as of   Ownership Status of   Proof of Ownership Per   Purchase Date Per   Sell Date if Applicable Counsel                           Counsel Address                Counsel Phone    Counsel Email                                                       Global,                                                                Pre-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Amount Owed
Identifier                               Address                                                                   Filed Taishan (Yes/No) (Yes/No)   Square      Provided Uploaded to       Verifying Square     2017 RS Means                                                Brand(s)                                                     Taishan Product ID Bucket(s)     May-August 2017 Per   Named Claimant Per         BrownGreer             BrownGreer       or Current Owner Per                                                                                                                                                        Banner, InEx                                                         Remediation                                                                                                                                               Aware property                                                                            Date Sold or                                                                                                                                                                                                            Who Performed
                                                                                                                                                                                                                                       2017 Cost Per SF    2017 Remediation                                                                                                                                                                                                                                                                                                                                              Already                                                                                                                  VA        Holdback                              Remediation                                                                                  If no, when did                                                                           Assign any       Expressly                      Court                                                                           on        Date of                       Partially or                                                      Date        Alternative
                                                                                                                       Omni                          Footage           Sharefile                Footage         Residential Location                                                                                                       Catalog                              BrownGreer           BrownGreer                                                           BrownGreer                                                                                                                     Pilot Program               Knauf        Repair and                 Foreclosure Lost Rent,                   Alternative                                      Remediation                                                  Residential or Date Property   Date CDW      had CDW at                    If CDW Installed Before Purchase, Date you Assignment of   Transferred                                                                                                              Foreclosure or                              Short Sale Price                   Dates of          Work to     Total Cost for                                Loss of Use  Diminution of
                                                                                                                                                                                                                                       [B = A x $109.85]      Damages                                                                                                                                                                                                                                                                                                                                                   Remediated                            Bodily Injury                             Miscellaneous             Tenant Loss Settlement    Payment                   KPT %       Complete by     SPPF Completed?                                                                you become                                                                              Rights with   Retain Rights to   Bankruptcy   Bankruptcy   Date of Filing   Docket No.   Present Status                  Loan/Mortgage Foreclosure or                   Completely                                                      Remediation     Living                                                                           SPPF Comments/ Notes
                                                                                                                                                                                                                      Factor                                                                                                                                                                                                                                                                                                                                                                               Payments                Remediation    Relocation                or Short Sale Use, or Sales                  Living                                          Option                                                     commercial?      Acquired       Installed      time of                            Learned it Contained CDW               Rights?       Property if                                                                                                              Short Sale?                                 (if applicable)                  Remediation       Remediate     Remediation                                 and Enjoyment    Value
                                                                                                                                                                                                                                                               [SF x B]                                                                                                                                                                                                                                                                                                                                                Home (ARH)                                                                                                             Gross Award   Amount                                  KPT?                                                                                           aware?                                                                                  Sale?       Pursue Claim?                    Filed In                                                                    at time of    Short Sale                    Remediated?                                                       Complete     Expenses
                                                                                                                                                                                                                       [A]                                                                                                                                                                                                                                                                                                                                                                                                                        Expenses                                                             Expenses                                                                                                                                                   purchase?                                                                                Applicable                                                                                                                                                                                                               Property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Foreclosure
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (GBI)                                                              (PRALE)
   1    Ex 10/79   Evans, Jamie Lynn     7505 Mercury Drive   Violet          LA      70092   [II], [IX], [XV],     3/15/2010   Yes      Yes          1879      Property Tax Assessor's           Yes                                                                         Taihe           Photo          Taihe blue-aqua paper end tape 14                H           EVANS, JAMIE LYNN       Current Owner,        City or County Tax           9/6/2015           Current Owner      Law Offices of Sidney D. Torres, III Sidney D. Torres, III, Esq.   504-271-8422     storres@torres-law.com                                                                                                                                                                                                           3.14.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             other damages:
                                                                                              [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                                             Acquired Property     Records                                                                                                 8301 W. Judge Perez Drive,                                                                                                                                                                                                                              No                                                                                                                                                                                                                                                                                                                                                                       Completely                          self & st.
                                                                                                                                                                                                                       0.86                 94.47             $177,509                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                             Residential     2/2/2007      4/??/2009          No           6/2009       report by materials analytical services, inc.                  //                                            No                          //                                                                            //                                       4/2009 - 5/2010                     20,000.00      5/2010       6,500.00       24,000.00                                                           ALE- 6 months rent
                                                                                                                                                                        Footage                                                                                                                                                                                                                   after 6/9/15                                                                                                                  Suite 303                                                                                                                                                                                                                                            Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                       bernard project
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Chalmette, LA 70043
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Loss of use: 12 mos. x $2000.00 = $24,000.00
   2    Ex 10/79   Hotard, Christopher   2602 Chalona Drive   Chalmette       LA      70043   [III], [VII],         10/7/2009   Yes      Yes          4096      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEE" and 21                      I           HOTARD,                 Current Owner,        City or County Tax           2/24/2017          Current Owner      Martzell & Bickford                 Scott Bickford, Esq.           (504) 581-9065   srb@mbfirm.com                                                                                                                                                                                                                   3.21.18
                                                                                              [XV], [XVI],                                                       Document with Square                                                                                                                        "OR EXCEEDS ASTM C1396-                                      CHRISTOPHER PAUL        Acquired Property     Records                                                                                                338 Lafayette Street                                                                                                                                                                                                                                     No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                       0.86                 94.47             $386,949                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                                             11/8/2006      6/1/2007          No                                                                                       //                                            No                          //                                                                            //                                                              Self
                                                                                              [XVII]                                                                    Footage                                                                                                                              04 STANDARD" matches DIG                                                             after 6/9/15                                                                                                                 New Orleans, LA 70130                                                                                                                                                                                                                                 Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                             #3
   3    RP         NOAHH (New Orleans    2221 Caluda Street   Violet          LA      70092   [IX], [XV],            5/5/2011   Yes      Yes          1152      Property Tax Assessor's           Yes                                                                         Crescent City   Photo                                   27                      D           NEW ORLEANS AREA        Current Owner,        City or County Tax          10/19/2016          Current Owner      Herman, Herman & Katz               Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                           4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XVI], [XVII]                                                      Document with Square                                                                                                                                                                                     HABITAT FOR             Acquired Property     Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                                                                                                      Footage                                                                                                                                                                                           HUMANITY, INC           after 6/9/15                                                                                                                 New Orleans, LA 70113                                                                                                                                                                                                                                    No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                       0.86                 94.47             $108,829                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                             Residential    10/12/2016       //2008                                                                                                4/5/2018          No              Yes             No                          //                                                                            //                                       1/2011-6/2011                       $45,184.23     6/2011      $10,443.14                                  CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     as supporting materials for each remediated property.
   4    RP         NOAHH (New Orleans    3918 N. Johnson Street New Orleans   LA      70117   [VII], [IX],          1/14/2011   Yes      Yes          1050      Property Tax Assessor's           Yes                                                                         Taihe           Photo          "MADE IN CHINA, MEETS 21                         I           NEW ORLEANS AREA        Current Owner,        City or County Tax           3/2/2016           Current Owner      Herman, Herman & Katz               Russ Herman, Esq.              (504) 581-4892   rherman@hhklawfirm.com                                                                                                                                                                                                           4.30.18                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Because NOAHH only truly "owned" a few properties at the time of their remediation, the answers to
                   Area Habitat for                                                           [XV], [XVI],                                                       Document with Square                                                                                                                        OR EXCEEDS ASTM C1396-                                       HABITAT FOR             Acquired Property     Records                                                                                                820 O'Keefe Avenue                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              the questions in Section AC are based upon the acquiring of the Assignment by NOAHH. Also in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             answering these questions, NOAHH has assumed that CDW means corrosive CDW and not just any
                   Humanity, Inc.)                                                            [XVII]                                                                    Footage                                                                                                                              04 STANDARD" matches DIG                                     HUMANITY INC            after 6/9/15                                                                                                                 New Orleans, LA 70113                                                                                                                                                                                                                                    No                                                                                                                                                                                                                                                                                                                                                                       Completely                          Lakewood
                                                                                                                                                                                                                       0.86                 94.47              $99,194                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                             Residential    10/14/2010       //2009          Yes                                                                        Yes            //            No              Yes             No                          //                                                                            //                                       12/2010-2011                        $43,366.40     2/2011      $6,691.47                                   CDW. Additionally NOAHH has numerous boxes that contain the physical evidence from each property
                                                                                                                                                                                                                                                                                                             #3                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated                         Corporation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           as per Judge Fallon's order. NOAHH has not recently opened each one of those boxes to ensure that
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           all evidence is in pristine condition. NOAHH has and continues to gather receipts and other materials
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     as supporting materials for each remediated property.
   5    Ex 10/79   Williams, David       4859 Evangeline Drive New Orleans    LA      70127   [IX], [XV],            5/5/2011   Yes      Yes          2090      Property Tax Assessor's           Yes                                                                         Crescent City   Photo          "Made in China Crescent City 27                  D           WILLIAMS DAVID          Current Owner,        City or County Tax           3/31/2016          Current Owner      Hurricane Legal Center, LLC         Jacob Young, Esq.              (504) 522-4322   jacob@jacobyounglaw.com                                                                                                                                                                                                          5.3.18
                                                                                              [XVI], [XVII]                                                      Document with Square                                                                                                                        Gypsum Incorporated                                          WILLIAMS PAULA          Acquired Property     Records                                                                                                Young Law Firm                                                                                                                                                                                                                                           No                                                                                                                                                                                                                                                                                                                                                                       Completely
                                                                                                                                                                                                                       0.86                 94.47             $197,442                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N/A                            No                             Residential      //1994         //2006           No            2010                    Electrical problems                 No             //                                            No                          //                                                                            //                                         2015-2016       Magic Makeover    62,000.00      1/2016      800 (Rents)      2,000
                                                                                                                                                                        Footage                                                                                                                              Manufactured in P.R.C."                                                              after 6/9/15                                                                                                                 1010 Common St., Suite 3040                                                                                                                                                                                                                           Inspection                                                                                                                                                                                                                                                                                                                                                                  remediated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               New Orleans, LA 70112
